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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

TIMOTHY BARKOVIC,

                       Plaintiff,
                                                             Case Number 17-10281
v.                                                           Honorable David M. Lawson

ATTORNEY GRIEVANCE COMMISSION,
ALAN GERSHEL, ROBERT EDICK,
KIMBERLY UHURU, RUTHANN STEVENS,
JOHN DOE, STATE BAR OF MICHIGAN,
CLIFFORD FLOOD, JANE DOE, DAWN
EVANS, JOHN VAN BOLT, MARK
ARMITAGE, MARILYN KELLY, MICHAEL F.
CAVANAGH, MAURA D. CORRIGAN,
ROBERT P. YOUNG, JR., STEPHEN J.
MARKMAN, DIANE M. HATHAWAY, BRIAN
ZAHARA, BRIDGET MARY MCCORMACK,
DAVID VIVIANO, RICHARD BERNSTEIN,
and JOAN LARSEN,

                  Defendants,
_______________________________________/

                                          JUDGMENT

        In accordance with the opinion and order granting the defendants’ motions to dismiss entered

on this date,

        It is ORDERED AND ADJUDGED that the amended complaint is DISMISSED WITH

PREJUDICE.

                                                     s/David M. Lawson
                                                     DAVID M. LAWSON
                                                     United States District Judge

Dated: December 22, 2017
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                                           PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                   upon each attorney or party of record herein by electronic means or first
                   class U.S. mail on December 22, 2017.

                                                     s/Susan Pinkowski
                                                     SUSAN PINKOWSKI




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